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                              AFFIDAVIT OF COMPLAINT



          The UNDERSIGNED, PAULINE SOFIA LAPING, CEO/National Pageant Director
   and NERISSA LAPING, Founder/Chairwoman of Miss Global Tourism Philippines
   Foundation, Inc. the Organizer of Miss Global Philippines pageant with office address
   Unit 1710 17th Floor West Avenue Suites #124 West Avenue, Quezon City, Philippines
   accuses SOKHUNTEA MAK, of 1510 Bascom Ave, #29 Campbell, CA 95008
   committed as follows, to wit:

           That on or about June 2017, the undersigned have negotiation with China Group
   to host the international competition of Miss Global 2018. This will be hosted by Beijing
   Zhong Yi Wenhua Chuan Mei Co. Ltd. in China; under the Agreement between
   PAULINE SOFIA LAPING, NERISSA LAPING and company Beijing Zhong Yi Wenhua
   Chuan Mei Co. Ltd. it is stated that Beijing Zhong Yi Wenhua Chuan Mei Co. Ltd. is
   willing to host the international pageant in September 2018 with budget amounting to
   Two Million Dollar ($2,000,000.00). But because of lawsuit of SOKHUNTEA MAK
   claiming she’s the owner/founder of Miss Global which has been cease and decease by
   United State District Court Central District of California the said Agreement was
   cancelled. The undersigned losses the opportunity and Miss Global Organization
   to earn the Two Million Dollars ( $2,000,000.00) plus the opportunity to get
   sponsors while holding the Miss Global 2018 pageant in the Philippines last
   February 11, 2019 at Newport Performing Arts Theater, Resorts World Manila.

          The undersigned executed this affidavit to attest the truthfulness of the foregoing
   facts and to support the filing of VAN PHAM the founder and true owner of Miss Global
   Organization to seek justice on his claim and SOKHUNTEA MAK should pay the
   penalty and loss of monetary opportunity that should be gain by the undersigned and
   VAN PHAM. This affidavit is issued to support Miss global Organization claimed for
   damages and income losses that SOKHUNTEA MAK caused to Miss Global
   Organization.

         This affidavit is executed this 15th day of February 2019.




   PAULINE SOFIA LAPING                                           NERISSA LAPING
   CEO/National Pageant Director                                  Founder/Chairwoman
